                                                     U.S. Department of Justice


                                                     United States Attorney
                                                     Eastern District of New York
RCH/SPN/HDM/CRH/MM                                   271 Cadman Plaza East
F. #2018R01309                                       Brooklyn, New York 11201

                                                     August 23, 2022
By ECF

The Honorable Brian M. Cogan
United States District Judge
Eastern District of New York
225 Cadman Plaza East
Brooklyn, New York 11201

               Re:     United States v. Thomas Joseph Barrack, et al.
                       Criminal Docket No. 21-371 (S-1) (BMC)

Dear Judge Cogan:

               The parties respectfully submit for the Court’s consideration a joint list of agreed-
upon strikes for cause, consisting of 251 jurors, attached hereto as Exhibit A.

              The parties have conferred and request permission to provide our positions as to
the remainder of potential jurors, and appropriate questions for supplemental voir dire, by August
26, 2022.

                                                     Respectfully submitted,

                                                     BREON PEACE
                                                     United States Attorney

                                              By:      /s/
                                                     Ryan C. Harris
                                                     Samuel P. Nitze
                                                     Hiral D. Mehta
                                                     Craig R. Heeren
                                                     Assistant U.S. Attorneys
                                                     (718) 254-7000

                                              By:      /s/
                                                     Matthew J. McKenzie
                                                     Trial Attorney

cc:    Counsel for Thomas Joseph Barrack (by ECF)
       Counsel for Matthew Grimes (by ECF)
       Clerk of the Court (BMC) (by ECF)
